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                                                                     Thursday, 14 March, 2019 01:54:47 PM
                                                                             Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  URBANA DIVISION

TRUSTEES OF CONSTRUCTION INDUSTRY                    )
WELFARE FUND OF CENTRAL ILLINOIS,                    )
                                                     )
                              Plaintiff,             )       CIVIL ACTION
                                                     )
       v.                                            )       NO.
                                                     )
IMPERIAL CONCRETE COMPANY, INC.,                     )       JUDGE
an Illinois corporation,                             )
                                                     )
                              Defendant.             )

                                           COMPLAINT

       NOW COMES Plaintiff, the Trustees of Construction Industry Welfare Fund of Central

Illinois (hereinafter “Plaintiff” or “Fund”), by their attorneys, complaining of the Defendant,

IMPERIAL CONCRETE COMPANY, INC., an Illinois corporation, and allege as follows:

       1.      This action arises under the laws of the United States and is brought pursuant to the

Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§1132, 1145

(hereinafter referred to as “ERISA”), and the Labor-Management Relations Act of 1947, as amended,

29 U.S.C. §185(a) (hereinafter referred to as “LMRA”). Jurisdiction is based upon the existence of

questions arising thereunder, as hereinafter more fully appears.

       2.      Plaintiff brings this action as an “employee welfare benefit fund,” and “plan,” under

ERISA and the LMRA. Plaintiff is administered within this District and Division at 34 E. Springfield

Avenue, Champaign, Illinois. Accordingly, venue is appropriate under 29 U.S.C. §1132(e)(2).

       3.      Defendant is an Illinois corporation, with its principal place of business located at

3612 W. Bloomington Road, Champaign, Illinois. Defendant is an “employer” under ERISA and

the LMRA.
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       4.      Defendant is obligated to make fringe benefit contributions to the Plaintiff Fund under

the terms of the Trust Agreement establishing and outlining the administration of the Fund, and

pursuant to the terms of a collective bargaining agreement entered into by Defendant and Cement

Masons Local 143, which represents a bargaining unit of Defendant’s employees, the members of

which are beneficiaries of the Fund.

       5.      As an employer obligated to make fringe benefit contributions to the Fund, Defendant

is specifically required to do the following:

       (a)     To submit to Plaintiffs for each month, by the 15th day of the following
               month, a report stating the names, social security numbers, and total hours
               worked or paid in such month for each and every person on whose behalf
               contributions are required to be made by Defendant to Plaintiffs; or, if no
               such persons are employed for a given month, to submit a report so stating;

       (b)     To accompany the aforesaid reports with payment of contributions based
               upon the actual number of hours worked by each covered employee,
               including overtime hours;

       (c)     To make all of its payroll books and records available to Plaintiffs for the
               purpose of auditing same, to determine whether Defendant is making full
               payment as required under the applicable agreements;

       (d)     To compensate Plaintiffs for the additional administrative costs and burdens
               imposed by Defendant’s failure to pay, or untimely payment of, contributions,
               by way of the payment of liquidated damages in amounts as set forth in the
               Agreement and Declaration of Trust for any and all contributions which are
               not timely received by Plaintiffs for a particular month;

       (e)     To pay Plaintiffs interest on late employer contributions at the rate of twelve
               (12) percent per annum, assessable at the rate of one (1) percent per month
               for each month or fraction thereof the contribution is received more than
               thirty (30) days beyond the due date;

       (f)     To pay any and all costs incurred by Plaintiffs in auditing Defendant’s payroll
               records, should it be determined that Defendant was delinquent in the
               reporting or submission of all contributions required of it to be made to
               Plaintiffs;


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       (g)     To pay Plaintiffs’ reasonable attorneys’ fees and costs necessarily incurred to
               compel Defendant to submit its payroll books and records for audit, or to
               recover delinquent contributions;

       6.      Defendant is delinquent and has breached its obligations to Plaintiff Fund and its

obligations under the plan in the following respect:

       Defendant has submitted its monthly fringe benefit contribution reports to Plaintiffs due for
       September 2018 through November 2018 but has failed and refused to make payment of all
       contributions acknowledged by Defendant thereon to be due Plaintiffs. Defendant is further
       obligated to pay liquidated damages and interest on all contributions reported and paid late,
       or remaining unpaid, but has failed and refused to make payment of said liquidated damages
       and interest.

       7.      That upon careful review of all records maintained by Plaintiff, and after application

of any and all partial payments made by Defendant, there is a total of $12,047.34 known to be due

Plaintiff from Defendant, subject, however, to the possibility that additional monies may be due

Plaintiff from Defendant based upon the continuing accrual of interest, and Defendant’s failure to

submit all required reports or to accurately state all hours for which contributions are due on reports

previously submitted. The amounts due are further subject to change based on the possibility that

additional contributions, liquidated damages and interest will come due during the pendency of this

lawsuit.

       8.      Plaintiff Fund has requested Defendant perform its obligations as aforesaid, but

Defendant has failed and refused to so perform.

       9.      Defendant’s continuing refusal and failure to perform its obligations to Plaintiff Fund

is causing and will continue to cause irreparable injuries to Plaintiff for which Plaintiff has no

adequate remedy at law.




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           WHEREFORE, Plaintiffs pray:

           (a)         That an account be taken as to all employees of Defendant covered by the collective
                       bargaining agreement as to wages received and hours worked by and paid to such
                       employees to determine amounts due to the Plaintiff, covering the period for which
                       the collective bargaining agreement is effective;

           (b)         That Defendant be enjoined and ordered to submit all delinquent monthly contribu-
                       tion reports to Plaintiff with the information required to be provided thereon, to
                       continue to submit such reports while this action is pending, and to comply with its
                       contractual obligation to timely submit such reports in the future;

           (c)         That judgment be entered in favor of Plaintiff and against Defendant for all unpaid
                       contributions, liquidated damages, any costs of auditing Defendant’s records, accrued
                       interest, and Plaintiff’s reasonable attorneys’ fees and court costs necessarily incurred
                       in this action as specified herein, or as subsequently determined, all as provided for
                       in the Trust Agreement and in ERISA;

           (d)         That Plaintiff has such further relief as may be deemed just and equitable by the
                       Court, all at Defendant’s cost.


                                                        /s/ Patrick N. Ryan

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